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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11    ROBERT K. MAYBERRY,                     )   Case No. 2:20-cv-00224-JLS-JDE
                                              )
12                      Plaintiff,            )
                                              )   ORDER ACCEPTING FINDINGS
13                       v.                   )
                                              )   AND RECOMMENDATION OF
14    LOS ANGELES SHERIFF’S                   )   UNITED STATES MAGISTRATE
                                              )   JUDGE
      DEPARTMENT, et al.,                     )
15                                            )
                        Defendants.           )
16                                            )
17
18          Pursuant to 28 U.S.C. § 636, the Court has reviewed the records on file,
19    including the operative Fifth Amended Complaint (Dkt. 50, “5thAC”) filed by
20    Plaintiff Robert K. Mayberry (“Plaintiff”), the Motion to Dismiss the 5thAC
21    (Dkt. 63, “Motion”) filed by Defendants Los Angeles County, the Los Angeles
22    Sheriff’s Department, and Los Angeles County Sheriff Alejandro Villanueva,
23    Plaintiff’s Opposition to the Motion (Dkt. 67), Defendants’ Reply in support of
24    the Motion (Dkt. 66), Plaintiff’s Rule 28(j) Analog (Dkt. 68), and the Report
25    and Recommendation of the assigned United States Magistrate Judge (Dkt. 70,
26    “Report”). No party filed timely written objections to the Report. The Report
27    and Recommendation is approved and accepted.
28    ///
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 1          Therefore, IT IS HEREBY ORDERED that:
 2          1.    The Motion (Dkt. 63) is GRANTED as follows, with dismissals
 3                with prejudice to be reflected in the final judgment in this action:
 4                (a) Counts 3-6 of the 5thAC are dismissed with prejudice; (b)
 5                Count 1 of the 5thAC is dismissed with prejudice except that the
 6                Fourth Amendment claim based on the use of excessive force
 7                against the specific individual defendants that allegedly caused the
 8                constitutional deprivation, in their individual capacity only, is
 9                dismissed with leave to amend; and (c) Count 2 of the 5thAC is
10                dismissed with prejudice except that the Fourteenth Amendment
11                claim based on inadequate medical treatment against the specific
12                individual defendants that allegedly caused the constitutional
13                deprivation, in their individual capacity only, is dismissed with
14                leave to amend; and
15          2.    If Plaintiff still desires to pursue an individual capacity Fourth
16                Amendment excessive force claim and/or an individual capacity
17                Fourteenth Amendment inadequate medical treatment claim as
18                described in paragraph 1, above, he is ORDERED to file a Sixth
19                Amended Complaint, limited to such claim or claims, within
20                fourteen (14) days from the date of this Order. A failure to timely
21                file a complaint Sixth Amended Complaint may result in dismissal
22                of this action for failure to prosecute and/or failure to comply with
23                a Court order. See Fed. R. Civ. P. 41(b).
24          IT IS SO ORDERED.
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      Dated: November 10, 2021
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27                                                ______________________________
                                                  JOSEPHINE L. STATON
28                                                United States District Judge
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